UNITED STATES DISTRICT COURT Py
EASTERN DISTRICT OF TENNESSERIG 9 2 14
AT GREENEVILLE vs
EAS bate

UNITED STATES OF AMERICA ) nd. GLERE

) BY cewrnrr
v. ) No. 2:98-CR-23

)
DAVID CROSS )

EX PARTE MOTION FOR ISSUANCE OF SUBPOENA
Pursuant to Rule 17(b), Defendant David Cross, hereby moves the Court to order that a
subpoena be issued for the following individual compelling her attendance at the supervised release
revocation hearing on Monday, August 22, 2005, at 1:30 p.m.
Andrea (Andie) Dixon
CCS
124 Austin Street, Suite 1
Greeneville, TN 37745
(423) 639-7777
In support of this motion, Mr. Cross would show the Court that he is unable to pay the
witness fees in this case as he has been previously adjudged indigent by the Court and that the
presence of this witness is necessary to the presentation of an adequate defense.
Wherefore, defendant moves the court to issue an order under seal granting this motion and

requiring the issuance and service of the requested subpoena by a representative of the Federal

Defender Services of Eastern Tennessee.

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RESPECTFULLY SUBMITTED:

FEDERAL DEFENDER SERVICES OF EASTERN
TENNESSEE, INC.

—_——
BY: [ Jw (Vigert2_
Tim S. Moore
BOPR No. 011071
Federal Defender Services
129 West Depot Street, Suite 1
Greeneville, TN 37743
(423) 636-1301

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